
4 N.Y.2d 766 (1958)
64th St. Residences, Inc., et al., Appellants,
v.
City of New York et al., Respondents, and Fordham University et al., Intervenors-Respondents.
Court of Appeals of the State of New York.
Submitted February 24, 1958.
Decided February 25, 1958.
Sidney Dickstein and Harris L. Present for motion.
Edward D. Burns opposed.
Motion for a stay denied, without prejudice to a renewal thereof if and when the actual possession of plaintiffs-appellants is about to be disturbed pending this appeal. Case set down for argument on March 24, 1958. Brief of plaintiffs-appellants to be served and filed by March 13, 1958.
